Case 1:17-cv-02374-RRM-ST Document 96-4 Filed 01/11/21 Page 1 of 8 PageID #: 855



                                                     STEVEN A. METCALF II, ESQ., Managing Attorney
                                                   NANETTE IDA METCALF, ESQ., Managing Attorney**
                                                        MARTIN TANKLEFF, ESQ., Associate Attorney
                                                        CHRISTOPHER DARDEN, ESQ., Special Counsel*
                                                                JOSEPH D.MCBRIDE, ESQ., of Counsel
                                                                    MARC HOWARD, ESQ. of Counsel




           EXHIBIT A
                            Metcalf & Metcalf, P.C.
                                 99 Park Avenue, 25th Floor
                                   New York, NY 10016
                                    646.253.0514 (Phone)
                                     646.219.2012 (Fax)
Case
 Case1:17-cv-02374-RRM-ST
      1:17-cv-02374-RRM-ST Document
                            Document96-4
                                     84 Filed
                                         Filed07/20/20
                                               01/11/21 Page
                                                         Page12ofof28PageID
                                                                      PageID#:#:789
                                                                                 856




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 Capital 7 Funding,
                                                                      Docket No. 17-cv-2374
                           Plaintiff
                                                                      Request for Certificate of Default
         - against -

  Wingfield Capital Corporation, Prestige Investment
  Associates, Inc., d/b/a Prestige Investments USA,
  and First Choice Payment Systems, Inc., d/b/a 1st
  Choice Payments
                       Corporate Defendants

         And

  Burgis Sethna, a/k/a Seth Burgess, Heath
  Wagenheim, Joseph Rabito, Damian Laljie a/k/a
  Damian Laltie, and John Does 1 through 15,
                      Individual Defendants

 -----------------------------------------------------------------X

 TO: DOUGLAS C. PALMER, CLERK
     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK

        Plaintiff in the above-captioned action request that defaults be entered against Defendant
 Heath Wagenheim pursuant to Rule 55(a) of the Federal Rules of Civil Procedure for failure to
 timely plead or otherwise defend this action as fully appears from the court file and the attached
 declaration of Nicholas Bowers, Esq.



 Dated: Brooklyn, New York
        July 20, 2020

                                                      Respectfully Submitted,
                                                      ______/s/ ____________
                                                      Nicholas Bowers, Esq.
                                                      Gary Tsirelman P.C.
                                                      Attorneys for Plaintiff
                                                      129 Livingston St.
                                                      Brooklyn NY 11201
                                                      Email: nbowers@gtmdjd.com
Case
 Case1:17-cv-02374-RRM-ST
      1:17-cv-02374-RRM-ST Document
                            Document96-4
                                     84 Filed
                                         Filed07/20/20
                                               01/11/21 Page
                                                         Page23ofof28PageID
                                                                      PageID#:#:790
                                                                                 857
Case 1:17-cv-02374-RRM-ST Document 96-4
                                   84-1 Filed 01/11/21
                                              07/20/20 Page 4
                                                            1 of 8
                                                                 3 PageID #: 858
                                                                             791




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------X
  Capital 7 Funding,
                                                                       Docket No. l 7-cv-2374
                            Plaintiff

                            - against -                                Declaration in Support of Request
                                                                       for Certificate of Default
   Wingfield Capital Corporation, Prestige Investment
   Associates, Inc., d/b/a Prestige Investments USA,
   and First Choice Payment Systems, Inc., d/b/a 1st
   Choice Payments
                        Corporate Defendants

          And

   Burgis Sethna, a/k/a Seth Burgess, Heath
   Wagenheim, Joseph Rabito, Damian Laljie a/k/a
   Damian Laltie, and John Does 1 through 15,
                       Individual Defendants

  -----------------------------------------------------------------X

                           DECLARATION OF NICHOLAS BOWERS, ESQ.

  I, Nicholas Bowers, declare under penalty ofperjury that:


   1. I am an associate attorney with Gary Tsirelman, P.C., counsel to Plaintiff Capital 7 Funding in

  the above-captioned matter.


  2. I submit this declaration pursuant to Rule 55.l ofthe Local Civil Rules for the Eastern District

  ofNew York and in support of Plaintiffs request for a certificate of default against Defendant

  Heath Wagenheim ("Wagenheim").


  3. This action seeks damages from Wagenheim for his conduct and direction of Defendants'

  fraudulent enterprise that defrauded Plaintiff.


                                                                                                           I
Case 1:17-cv-02374-RRM-ST Document 96-4
                                   84-1 Filed 01/11/21
                                              07/20/20 Page 5
                                                            2 of 8
                                                                 3 PageID #: 859
                                                                             792




  4. Jurisdiction of this action is based upon 28 U.S.C § 1331 because Plaintiffbrings its claims, in

  part, under the laws of the United States, specifically 18 U.S.C. § 1961 through 1968 (the

  Racketeer Influenced and Corrupt Organizations ("RICO") Act). This Court has supplemental

  jurisdiction of Plaintiffs state law claims pursuant to 29 U.S.C. § 1367. This District is an

  appropriate venue pursuant to 28 U.S.C. § 1391, one or more of the Defendants resides in the

  Eastern District of New York and because this is the District where a substantial amount of the

  activities forming the basis of the Complaint occurred.


  5. The Complaint was filed on April 20, 2017. ECF No. 1. Plaintifffiled an Amended Complaint

  on May 4, 2017. ECF No. 4. Pamela Kutoroffboth inquired and confirmed that Wagenheim was

  not a member of the United States military and served a true and correct copy of the Amended

  Complaint was served on Wagenheim on June 2, 2017. See Exhibit A


  6. Plaintiff sought a certificate of default against Wagenheim on June 27, 2017. ECF No. 16. The

  Clerk entered Wagenheim's default on July 24, 2017. Plaintiff subsequently filed a Second

  Amended Complaint on August 31, 2017. ECF No. 26.


  7. Wagenheim subsequently retained counsel and requested a pre-motion conference from the

  Court regarding a motion to dismiss the Second Amended Complaint. ECF No. 27. The Court

  issued an order on March 22, 2019 allowing all Defendants to file motions to dismiss.


  8. Wagenheim filed a motion to dismiss the Second Amended Complaint on June 21, 2019. The

  Court denied Wagenheim's motion in its entirety on May 29, 2020. ECF No. 82.
Case 1:17-cv-02374-RRM-ST Document 96-4
                                   84-1 Filed 01/11/21
                                              07/20/20 Page 6
                                                            3 of 8
                                                                 3 PageID #: 860
                                                                             793




   9. Pursuant to Federal Rule of Civil Procedure 12(a)(4)(A), Wagenheim's responsive pleading was

   due filed or served on June 15, 2020. Wagenheim has not filed or served any responsive pleading

   or appeal after filing the motion to dismiss. Wagenheim's time to respond has expired.


   I 0. This action seeks judgment against Wagenheim for compensatory damages, punitive damages,

   treble damages, costs, and reasonable counsel fees.




   Dated: Brooklyn, New York
          July 20, 2020

                                               Respectfully Submitted,

                                               Nicholas Bowers, Esq.
                                               Gary Tsirelman P.C.
                                               Attorneysfor Plaintiff
                                               129 Livingston St.
                                               Brooklyn NY 1120 I
Case 1:17-cv-02374-RRM-ST Document 96-4
                                   84-2 Filed 01/11/21
                                              07/20/20 Page 7
                                                            1 of 8
                                                                 1 PageID #: 861
                                                                             794




                                                   AFFIDAVIT OF PROCESS SERVER

      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK                                                   CASE: 1 :17•cv•02374-RRM•ST

      CAPITAL 7 FUNDING
                                                     Plaintiff,
          -VS-

      WINGFIELD CAPITAL CORPORATION, et al
                                                     Defendants.


      I,      PAMELA KUTOROFF                       , being first duly swam, depose and say: thal I am over the age of 18 years
      and not a party to this action, and that within the boundaries of the state where service was effected, I was authorized by
      law to perform said service.

      SERVICE: I served                               H EATH WAGENHEIM
                                                NAME OF PERSON/ENTITY BEING SERVED
      WITH                   SUMMONS IN A CIVIL ACTION; RIDER "A"; AMENDED COMPLAINT

                               E!:!
      by leaving with: ---!.!H.!:::: AT�H     W �A�G
                                        !..!...?.     ..,NH
                                                   ..,E   � '..!JE    M.__________,D
                                                                 ..,l!.!!             ..,F wE
                                                                                   ..,E         � ""A :,,Nt.!
                                                                                            ..,ND          T'------------
                                                                                                             .
                                     NAME                                         RELATIONSHIP

      AT: 135 NORDHAM STREET, WALDWICK, NJ 07463                                   .....,.1
                                                                         ON: ___,.6/2/      7____,;,A�T:__
                                                                                          ..,,          .        ::2
                                                                                                          ..,9"":0 ""A""'M
                                                                                                                         ,,____
              ADDRESS                CITY/STATE                                        DATE                     TIME


      lit{ Inquired if subject was a member of the U.S. Military and was Informed they are not.

      Thereafter copies of the documents were mailed by prepaid, first class mall on_________
                                                                                    ,                        ____
                                                                                                DATE
      MANNER OF SERVICE:
      " PERSONAL: By personally delivering copies to the person being served.
      O SUBSTITUTED AT RESIDENCE: By leaving copies at the dwelling house or usual place of abode of the person
          being served with a member of the household over the age of __ and eKplalning the general nature of the
          papers.
      □   POSTING: By posting copies In a conspicuous manner to the front door of the person/entity being served.
      □   NON-SERVICE: After due search, careful Inquiry and diligent attempts at the address listed above, I have been
          unable to effect process upon the person/entity being served because of the following reasons(s):
               () Moved, forwarding addresa unknown, () No longer employed at place of buslneH, () Vacant
                 () Unknown al address,                  () Incorrect place for service/bad address, () Service cancelled
                 () No does residing at premises         ()Other : __________________



      SERVICE ATTEMPTS: Service was attempted on: (1) ______ (2) _______ (3),___ ,___
                                                                  DATE    TIME           DATE    TIME         DATE     TIME


                                                                          I      1
      DESCRIPTION: AGE:�sex:tvl RAce:W��\l,HEIGHrS                            Jo ' weIGHT 1JJO   HAIR �OTHER             µll,¼:


                           EONTHIS5-0AY�2Dl-:J-                                      �C
                                                                                     PELA KUTOROFF--PRESSSERVER
                                                                                                's, �           c:as-:e--
                                             MY COMMISSION EXPIRES

          MIRANDA R. PLA
     NOT AR V :,, i�t ,,: OF "i:W TT
                                  JERSEY
          Copm :: 50053305
     My Comm1ss1on Expires 0112
                                  312022
                                                                                                    -.,.if:'.-,t
                                                                                                   -�   U ,t: Undisputed Legal Inc
                                                                                                    •i;�-
Case 1:17-cv-02374-RRM-ST Document 96-4
                                   84-3 Filed 01/11/21
                                              07/20/20 Page 8
                                                            1 of 8
                                                                 1 PageID #: 862
                                                                             795




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 Capital 7 Funding,
                                                                      Docket No. 17-cv-2374
                           Plaintiff

                       - against -                                    Certificate of Default
  Wingfield Capital Corporation, Prestige Investment
  Associates, Inc., d/b/a Prestige Investments USA,
  and First Choice Payment Systems, Inc., d/b/a 1st
  Choice Payments
                       Corporate Defendants

         And

  Burgis Sethna, a/k/a Seth Burgess, Heath
  Wagenheim, Joseph Rabito, Damian Laljie a/k/a
  Damian Laltie, and John Does 1 through 15,
                      Individual Defendants

 -----------------------------------------------------------------X

 I, Douglas Palmer, Clerk of the Court of the United States District Court for the Eastern
 District of New York, do hereby certify that Defendant Heath Wagenheim has not filed an
 answer or otherwise moved with respect to the above-captioned action as fully appears from the
 court file herein and from the Declaration of Nicholas Bowers, annexed hereto. The default of
 Defendant Heath Wagenheim is hereby noted pursuant to Rule 55(a) of the Federal Rules of
 Civil Procedure.



 Dated: Brooklyn, New York
 ________________, 2020
                                                                                DOUGLAS C. PALMER
                                                                                         Clerk of Court
                                                                          By: _______________________
                                                                                          Deputy Clerk
